                                                                                                                                  Rev. November 10, 2015
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                                  UNITED STATES DISTRICT COURT, DISTRICT OF NEW MEXICO
                                           SENTENCING MINUTE SHEET - CONTINUED
 CR No: 19-77 JB                                          USA vs.: Nissen
    Date: 1/15/20                                 Name of Deft: Michael Nissen
                Before the Honorable: James O. Browning
       Time In/Out:               am       am                         Total Time in Court (for JS10):                 Minutes
               Clerk: J. Wright                                                          Court Reporter: J. Bean
               AUSA: Paul Mysliwiec                                              Defendant’s Counsel: Susan Porter
     Sentencing in: Albuquerque                                                               Interpreter:
 Probation Officer:            Shane Lovato                                          Interpreter Sworn?               Yes                    No
     Convicted on:                 Plea          x    Verdict         As to:            Information                         x   Indictment

                If Plea:           Accepted           Not Accepted      Adjudged/Found Guilty on Counts:

    If Plea Agreement:             Accepted           Not Accepted           No Plea Agreement        Comments:

Date of Plea/Verdict:             8/7/19         PSR:           Not Disputed            Disputed            Courts adopts PSR Findings

Evidentiary Hrg:           x    Not Needed           Needed        Exceptions to PSR:

         SENTENCE IMPOSED                             Imprisonment (BOP):
Supervised Release:                                                                                   Probation:
REC              500-Hour Drug Program                    BOP Sex Offender Program       Other:

 ICE             Court recommends ICE begin removal proceedings immediately or during service of sentence                       ICE not applicable

                                                SPECIAL CONDITIONS OF SUPERVISION
       No re-entry without legal authorization                                       Home confinement for             months     days
       Comply with ICE laws and regulation                                           Community service for 60 hours during supervised release.
       Participate in/successfully complete subst abuse program/testing              Reside halfway house         6    months     days
       Participate in/successfully complete mental health program                    Register as sex offender
       Refrain from use/possession of alcohol/intoxicants                            Participate in sex offender treatment program
       Submit to search of person/property                                           Possess no sexual material
       No contact with victim(s) and/or co-defendant(s)                              No computer with access to online services
       No entering or loitering near victim’s residence                              No contact with children under 18 years
       Provide financial information                                                 No volunteering where children supervised
       Waive right of confidentiality and allow the treatment provider to
       release treatment records                                                     Restricted from occupation with access to children
       Must not knowingly purchase, possess, distribute, administer, or
       otherwise use any psychoactive substances (e.g., synthetic
       marijuana, bath salts, etc.) that impair your physical or mental
       functioning, whether or not intended for human consumption.                   No loitering within 100 feet of school yards
       Must not possess, sell, offer for sale, transport, cause to be                If defendant is unemployed - Must participate in an educational or
       transported, cause to affect interstate commerce, import, or export           vocational services program and follow the rules and regulations
       any drug paraphernalia, as defined in 21 U.S.C. 863(d).                       of that program

       OTHER:

Fine:      $ 0                                                                            Restitution: $ 0
SPA:       $     (100 per count)                                               Payment Schedule:                Due Immediately              Waived
 OTHER:
       Advised of Right to Appeal                     Waived Appeal Rights per Plea Agreement

x      Held in Custody                                Voluntary Surrender

       Recommended place(s) of incarceration:

       Dismissed Counts:
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OTHER COMMENTS:   Sentencing not held. New counsel will be appointed and sentencing reset.
